 

Case 4:18-cV-00501-DCN Document 1 Filed 11/09/18 Page 1 of 6

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO

AFFINITY PARTNERSHIPS, an Idaho Case No.
Limited Liability Company incorporated in
Wyoming COMPLAINT
Plaintiff JURY TRIAL DEMANDED

V.

USREALTY.COM, LLC, a New York Limited
Liability Company &

USREALTY.COM, LLP, a Pennsylvania
Limited Liability Partnership

Defendants.

 

 

 

ORIGINAL COMPLAINT

 

COMES NOW, Afflnity Partnerships, LLC, hereinafter referred to as “Afflnity” by and

through their counsel of record, Reed Larsen of Cooper & Larsen, Chartered and co-counsel

COMPLAINT

Case 4:18-cV-00501-DCN Document 1 Filed 11/09/18 Page 2 of 6

admitted to this court for this case only via Pro Hac Vice Representation Ben Coltrin of Coltrin
LaW, PLLC, of Arizona, and for a cause of action against USRealty.com, LLC, a New York
Lirnited Liability ‘Company and USRealty.com, LLP, a Pennsylvania Limited Liability
Partnership.

PARTIES

1. At all times referenced, Plaintiff Afflnity has had its principal place of business in
Pocatello, ldaho. Affinity currently maintains its principal place of business in Pocatello, Idaho.

2. At all times relevant to this litigation, Defendant USrealty.com, LLC, has maintained its
principal place of business in New York, New York. Defendant USrealty.com, LLC currently
maintains its principal place of business in NeW York, NeW York.

3. At all times relevant to this litigation, Defendant USrealty.com, LLP, has maintained its
principal place of business in Pennsylvania. Defendant USrealty.com, LLP, has maintained its
principal place of business in Pennsylvania.

jURISDICTION AND VENU]il

4.. This Court has original jurisdiction because the matter in controversy exceeds the sum or
value of $75,000 and is between citizens of different states. 28 U.S.C. § 1332(a)(1).

'5. Venue is proper in the United States District Court for the District of Idaho, because a
substantial part of the events or omissions giving rise to.the claim occurred in this district. 28
U.S.C. § 1391(b)(2) Defendants initiated contact With Plaintiff at Plaintiff’ s place of business
Within the forum.

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6. Both USrealty.com, LLP & USrealty.com, LLC contact Affinity through their place of

business in Pocatello, Idaho for the proposed sale of their Website.

COMPLAINT

Case 4:18-cV-00501-DCN Document 1 Filed 11/09/18 Page 3 of 6

7. Affinity reasonably relied on the business negotiations and invested $150,000 on
pursuing the website.

8. A third party entity unbeknownst to Affinity opened negotiations with USrealty.com,
LLC & USrealty.com, LLP.

9. The USrealty.com, LLC officers had the power to bind USrealty.com, LLP through their
managerial decisions.

10. The deal that USrealty.com, LLC granted featured exclusivity as to prospective
negotiations with USrealty.com, LLC, USrealty.com, LLP, and the third party entity.

11. These prospective negotiations effectively cut out Affinity from any business recourse.

FIRST CAUSE OF ACTION: BREACH OF CONTRACT

12.. Affinity incorporates by reference each of the facts alleged above.

13. Affinity made a verbal agreement with both USrealty.com, LLC and USrealty.com, LLP.
Due to the agreement, Affinity ran employee benefit analysis and salary analysis. Further, AP '
spent time and resources traveling to Pennsylvania to meet With USrealty.com, LLP employees
at the request of USrealty.com, LLC.

14. Affinity granted valuable consideration putting time and resources where they could
have spent them elsewhere. As a result, both USrealty.com, LLC and USrealty.com, LLP gained
a benefit of the bargain that they would not have had otherwise. AP’s investment in prospective
negotiations enabled both USrealty.com, LLP and USrealty.com, LLC to have an additional
interested party and additional bargaining power with outside entities.

SECOND CAUSE OF ACTION: UNJUST ENRICHIMENT

15. Affinity incorporates by reference each of the facts alleged above.

COMPLAINT

Case 4:18-cV-00501-DCN Document 1 Filed 11/09/18 Page 4 of 6

16. In the case that the verbal agreement between the parties is found to be unenforceable,
Affinity should be granted at the very least quasi-contractual relief due to the unjust enrichment
of both USrealty.com, LLC and USrealty.com, LLP.

17. Both USrealty.com, LLC and USrealty.com, LLP may not have gained any kind of a
monetary gain from the prospective negotiations with Affinity. However, due to the presence of
Affinity engaging in negotiations with both entities, they both gained leverage on any other
prospective bidder.

18. Thus, both USrealty.com, LLC and USrealty.com, LLP were both unjustly enriched by
their excluding Affinity from negotiations

THIRD CAUSE OF ACTION: NEGLIGENT MISREPRESENTATION

19. Affinity incorporates by reference each of the facts alleged above.

20. Affinity relied on USrealty.com, LLC’s representation where they had a pecuniary
interest in deciding to pursue these negotiations.

` ' 21. False or misleading information Was provided to Affinity in the commencement of this
business relationship by the Defendants.

22. The Defendant USrealty.com, LLC failed to exercise reasonable care or competence in
obtaining or communicating the correct information Here, omitting information would fulfill
the element of misrepresentation

23. Due to USrealty.com, LLC’s omission or more accurately misrepresentation, Affinity
justifiably relied on the misrepresentations and invested valuable time and resources on the
relationship

24. Affinity was therefore injured and therefore entitled to relief and damages.

COMPLAINT

Case 4:18-cV-00501-DCN Document 1 Filed 11/09/18 Page 5 of 6

DAMAGES

25. Affinity seeks equitable relief or an injunction against both USrealty.com, LLC and
USrealty.com, LLP.

26. Affinity is not opposed to compensatory or reliance damages in this situation. However,
monetary relief is not Affinity’s choice of remedy.

27. Affinity is unaware if negotiations between both USrealty.com, LLP & USrealty.com,
LLC have finished

28. lf said negotiations have finished, Affinity would seek a Declaratory Judgment and a
Lien on whoever has possessed rights to both entities.

’29. If the negotiations have not terminated, Affinity seeks an Injunction or a Temporary
Restraining Order so they can properly be granted the opportunity to purchase both entities.

JURY DEMAND
30. Affinity demands a trial by jury on all issues so triable.
RESERVATION OF RIGHT'TO AMEND

31. Since Affinity is unaware of the current status of both USrealty.com, LLC and
USrealty.com, LLP, Affinity must be given the chance to amend its Complaint to enable them to
properly seek relief.

PRAYER FOR RELIEF

32. Based on the foregoing, Affinity requests that this Court issue citation for Defendants
USrealty.com, LLC and USrealty.com, LLP to appear and answer and that Affinity be awarded
Judgment against both entities for Declaratory Relief and an Injunction, plus recovery of its
attorney fees, and costs of court. Affinity further requests all additional and/or alternative relief

such as compensatory damages that it may be entitled to.

CCMPLAINT

Case 4:18-cV-00501-DCN Document 1 Filed 11/09/18 Page 6 of 6

DATED: November f ,2018.

COOPER & LARSEN, CHARTERED

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REED W. LARSEN

 

COMPLAINT

